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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


                                                   :
 ELMA THOMAS AND LENFORD                           :     NOTICE OF REMOVAL
 THOMAS, Her Spouse,                               :
                                                   :     CIVIL ACTION NO.:
                          Plaintiffs,              :
                                                   :
 v.                                                :     JURY TRIAL DEMANDED
                                                   :
 BJ’S WHOLESALE CLUB, INC.,                        :
 WATCHUNG UE LLC A/K/A URBAN                       :
 EDGE PROPERTIES, JOHN DOES 1-10                   :
 (Fictitious names representing unknown            :
 corporation, partnerships and/or limited          :
 liability companies or other types of legal       :
 entities),                                        :
                                                   :
                          Defendants.              :
                                                   :


                       DEFENDANT BJ’S WHOLESALE CLUB, INC.’S
                               NOTICE OF REMOVAL

         Defendant BJ’s Wholesale Club, Inc. (hereinafter referred to as “BJ’s” or “Defendant”)

files this Notice of Removal pursuant to 28 U.S.C. §1441(a) and (b) to remove this action from the

Superior Court of New Jersey, Law Division, Middlesex County, where it is now pending, to the

United States District Court for the District of New Jersey. Defendant, in support thereof, states

as follows:


      1. On or about July 26, 2019, Plaintiffs Elma Thomas and Lenford Thomas (hereinafter

         collectively referred to as “Plaintiffs”) commenced this action by filing a Complaint in the

         Superior Court of New Jersey, Law Division, Middlesex County, docket number MID-L-

         5518-19. A copy of Plaintiffs’ Complaint is attached hereto as Exhibit “A.”

      2. The allegations in Plaintiff’s Complaint arise out of an alleged incident that occurred on

         July 29, 2018, while Plaintiff Elma Thomas was inside of BJ’s Wholesale Club No. 073
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           located at 1601 Route 22, Watchung, NJ (“Property”). See Ex. “A”, First Count, ¶1. On

           that date, Plaintiff Elma Thomas claims that she suffered injuries in the Seasonal

           Department while lifting a piece of patio furniture that BJ’s offered for sale. See BJ’s

           General Liability (Incident) Claim Report, as Exhibit “B”.

       3. Specifically, Plaintiff Elma Thomas claims that while she was lifting a piece of patio

           furniture, a tabletop that BJ’s was offering for sale slid and hit her in the chest. Id.

       4. At all relevant times, including the date of alleged incident, Defendant BJ’s Wholesale

           Club, Inc. leased the BJ’s Wholesale Club from Defendant Watchung UE LLC c/o Urban

           Edge Properties, under a Triple Net Lease. See Triple Net Lease, as Ex. “C”1.

       5. Pursuant to the Triple Net Lease, on July 29, 2018, Defendant Watchung UE LLC c/o

           Urban Edge Properties had no responsibility for the interior of BJ’s Wholesale Club No.

           073, including relating to the products in the Seasonal Department where Plaintiff

           Elma Thomas’s alleged incident occurred. See Ex. “C”, ¶ 7.01-7.02, 19.11(c), et. seq.

       6. Triple Net Leases create a contract where the tenant has exclusive possession of the

           property and the landlord clearly delegates its duties of liability substantially to the tenant.

           Geringer v. Hartz Mountain Development Corp., 388 N.J.Super. 392, 400 (App. Div.

           2006).

       7. When the tenant’s exclusive possession is combined with clear and unambiguous language

           in the lease that the tenant shall have the duty to maintain and repair the property, then the

           landlord cannot be held liable for any personal injuries sustained by a third party on that

           property. McBride v. Port Authority of New York and New Jersey, 295 N.J.Super. 521,

           522 (App. Div. 1996).

       8. Pursuant to the Triple Net Lease, the interior of BJ’s Wholesale Club No. 073, including

           the Seasonal Department where Plaintiff Elma Thomas’s alleged incident occurred was at


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    This Triple Net Lease was assigned to BJ’s Wholesale Club, Inc. The Assignment of Lease is also attached as Ex.”C”.
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         all times material hereto maintained and operated by Defendant BJ’s Wholesale Club, Inc.

         See Ex. “C”.

    9. Defendant Watchung UE LLC c/o Urban Edge Properties was fraudulently joined to

         prevent removal to Federal Court.

    10. Defendant BJ’s Wholesale Club, Inc. was served on July 31, 2019, which is within thirty

         days of the filing of this Notice of Removal; thus, removal is timely.

    11. For the reasons set forth more fully below, this Court has original jurisdiction over the

         subject matter under 28 U.S.C. §1332 because the properly joined parties are citizens of

         different states and the matter in controversy exceeds $75,000.

    A. PLAINTIFFS ARE DIVERSE FROM THE PROPERLY JOINED DEFENDANT

    12. Plaintiffs allegedly reside at 381 Rushmore Avenue, Piscataway, New Jersey, 08854. See

         Exhibit “A”, p.1.

    13. Defendant BJ’s Wholesale Club, Inc. is a Delaware Corporation with its principal place of

         business located in Westborough, Massachusetts.

    14. At all relevant times, including the date of alleged incident, Defendant BJ’s Wholesale

         Club, Inc. leased the BJ’s Wholesale Club from Defendant Watchung UE LLC c/o Urban

         Edge Properties, under a Triple Net Lease2. See Ex. “C”.

    15. As stated above, Plaintiffs named Defendant Watchung UE LLC c/o Urban Edge Properties

         as an individual Defendant in this matter. See Exhibit “A”.

    16. Defendant Watchung UE LLC c/o Urban Edge Properties did not maintain or operate the

         interior of BJ’s Wholesale Club No. 073, including the Seasonal Department where

         Plaintiff Elma Thomas’s alleged incident occurred. See Ex. “C”, ¶ 7.01-7.02, 19.11(c), et.

         seq.


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  According to New Jersey law, a commercial lease is “triple-net” when the tenant is required to pay the “utilities,
taxes and other charges associated with the property.” N.J. Indus. Properties v. Y.C. & V.L., Inc., 100 N.J. 432, 434
(1985).
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    17. Nonetheless, Plaintiffs alleges in the Complaint that Defendant Watchung UE LLC c/o

         Urban Edge Properties was negligent or responsible for Plaintiff Elma Thomas’ accident

         for failure to maintain or inspect the property located at located at 1601 Route 22,

         Watchung, NJ. See Ex. “A”, Counts 1-2.

    18. Plaintiffs also allege that Watchung UE LLC c/o Urban Edge Properties is liable to them

         for Negligent Hiring and Supervision of the employees at 1601 Route 22, Watchung, NJ

         and that they are responsible for Plaintiff’s accident as a result of Respondeat Superior.

         See Ex. “A”, Counts 3-4.

    19. However, pursuant to the Triple Net Lease, Defendant Watchung UE LLC c/o Urban Edge

         Properties was not responsible for the maintenance or operation of the interior of BJ’s

         Wholesale Club No. 073 including the hiring of BJ’s personnel whom were present in BJ’s

         Wholesale Club No. 073 on July 29, 2018. See Ex. “C”, ¶ 7.01-7.02, 19.11(c), et. seq.

    20. New Jersey has carved out some exceptions to the general principles of negligence,

         including in the commercial tenancy context. There is no landlord liability for personal

         injuries suffered by a third person on the leased premises due to a lack of proper

         maintenance or repair, when the lease unquestionably placed responsibility for such

         maintenance or repair solely on the tenant.” Geringer v. Hartz Mountain Development

         Corp., 388 N.J.Super. 392, 401 (App. Div. 2006) citing McBride v. Port Authority of New

         York and New Jersey, 295 N.J.Super. 521, 522 (App. Div. 1996).

    21. When the tenant remains in “exclusive possession” and the terms of the lease are

         unambiguous as to repair and maintenance, then the landlord is not liable for the personal

         injuries of third persons. McBride, supra, 295 N.J.Super. at 521.

    22. This exception is applied to commercial Triple Net Leases, wherein the tenant is

         responsible for “paying utilities, taxes and other charges associated with the property.”

         N.J. Indus. Properties v. Y.C. & V.L., Inc., 100 N.J. 432, 434 (1985).

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    23. Triple-net leases create a contract where the tenant has exclusive possession of the property

         and the landlord clearly delegates its duties of liability substantially to the tenant. Geringer

         v. Hartz Mountain Development Corp., 388 N.J.Super. 392, 400 (App. Div. 2006).

    24. When the tenant’s exclusive possession is combined with clear and unambiguous language

         in the lease that the tenant shall have the duty to maintain and repair the property, then the

         landlord cannot be held liable for any personal injuries sustained by a third person on that

         property. McBride v. Port Authority of New York and New Jersey, 295 N.J.Super. 521,

         522 (App. Div. 1996).

    25. Here, Plaintiff makes claims against Defendant Watchung UE LLC c/o Urban Edge

         Properties related to their alleged negligence in the custody and control over the interior of

         BJ’s Wholesale Club No. 073, where the alleged incident occurred. See Ex. “A”.

    26. However, pursuant to the Triple Net Lease, the interior of BJ’s Wholesale Club No. 073,

         including the Seasonal Department where Plaintiff Elma Thomas’s alleged incident

         occurred was at all times material hereto maintained and operated by Defendant BJ’s

         Wholesale Club, Inc., as follows:




         See Ex. “C”, ¶ 7.01-7.02.

    27. The Lease also indicates that the Landlord shall have no liability for any damage to any

         person caused by any fixtures or equipment or appurtenances whatsoever at the Demised

         Premises, or for any damages arising from any act or neglect or arising by reason of the

         use of, or any defect in the Club or any of the fixtures, equipment or appurtenances
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         contained within, or by the act or neglect of any other person or caused in any other manner

         whatsoever, as follows:




         See Ex. “C”, ¶ 19.11(c).

    28. Moreover, the Triple Net Lease is clear that BJ’s, as Tenant, is required to pay taxes and

         other fees/costs related to the Property, as follows:




         Id. at p.18, ¶ 9.03.

    29. Additionally, the Triple Net Lease is clear that BJ’s, as Tenant, is required to pay utilities

         at the Property, as follows:


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         See Ex. “C”, p. 16, ¶¶ 8.01 - 8.04

    30. There are also indemnity provisions in the Lease. See Ex. C. ¶¶ 14.01, and 9.07(b).

    31. Again, under McBride, Supra, when the tenant’s exclusive possession is combined with

         clear and unambiguous language in the lease that the tenant shall have the duty to maintain

         and repair the property, then the landlord cannot be held liable for any personal injuries

         sustained by a customer of the tenant on that property. McBride, 295 N.J.Super. 521, 522

         (App. Div. 1996).

    32. Based on the terms of the Triple Net Lease, the facts surrounding the happening of the

         alleged incident, and the black letter law indicating that where there is a Triple Net Lease,

         the landlord cannot be held liable for any personal injuries sustained by a third person on
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         that property, Plaintiff simply cannot sustain a cause of action against Watchung UE LLC

         c/o Urban Edge Properties under New Jersey law.

    33. This is especially so, when this Court shall consider the manner in which how this alleged

         incident occurred, i.e.: Plaintiff Elma Thomas claims that she suffered injuries in the

         Seasonal Department while lifting a piece of patio furniture that BJ’s offered for sale. See

         Ex. “B”.

    34. Defendant Watchung UE LLC c/o Urban Edge Properties was fraudulently joined solely

         to destroy diversity and prevent removal to federal court.

    35. Accordingly, Plaintiff is diverse from BJ’s Wholesale Club, Inc.

    36. “The doctrine of fraudulent joinder represents an exception to the requirement that removal

         be predicated solely upon complete diversity.” In re Briscoe, 448 F.3d 201, 215-216 (3d

         Cir. 2006).

    37. "In a suit with named defendants who are not of diverse citizenship from the plaintiff, the

         diverse defendant may still remove the action if it can establish that the non-diverse

         defendants were 'fraudulently' named or joined solely to defeat diversity jurisdiction."

         Briscoe, 448 F.3d at 216.

    38. In matters where the Court determines that joinder was fraudulent, the Court can disregard,

         for jurisdictional purposes, the citizenship of a non-diverse defendant. In re Briscoe, 448

         F.3d 201, 215 (3d Cir. 2006).

    39. When a non-diverse party is fraudulently joined, “the citizenship of that defendant may be

         ignored and the action may be removed.” American Dredging Co. v. Atlantic Sea Con,

         LTD., 637 F. Supp. 179, 183 (D.N.J. 1986).

    40. Fraudulent joinder does not require a showing of fraud. Id.




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    41. The standard for determining when a party is fraudulently joined is “if the plaintiff fails to

         state a cause of action against the resident defendant, and the failure is obvious according

         to the settled rules of the state.” Id.

    42. Joinder is fraudulent "where there is no reasonable basis in fact or colorable ground

         supporting the claim against the joined defendant, or no real intention in good faith to

         prosecute the action against the defendant or seek a joint judgment." Boyer v. Snap-on

         Tools Corp., 913 F.2d 108, 111 (3d Cir. 1990)).

    43. As stated above, Plaintiff claims that she suffered injuries in the Seasonal Department of

         BJ’s Club number 073 while lifting a piece of patio furniture that BJ’s offered for sale.

         See Ex. “A” and “B”.

    44. As set forth at length above, based on the terms of the Triple Net Lease, the facts

         surrounding the happening of the alleged incident, and the black letter law indicating that

         where there is a Triple Net Lease, the landlord cannot be held liable for any personal

         injuries sustained by a customer of the tenant on that property, Plaintiff simply cannot

         sustain a cause of action against Watchung UE LLC c/o Urban Edge Properties.

    45. The standard for determining when a party is fraudulently joined is “if the plaintiff fails to

         state a cause of action against the resident defendant, and the failure is obvious according

         to the settled rules of the state.” American Dredging Co. v. Atlantic Sea Con, LTD., 637

         F. Supp. 179, 183 (D.N.J. 1986).

    46. Although fraudulent joinder determinations are often made in the context of a remand

         motion, there is no requirement that this be so, where the fraudulent joinder issue is raised

         and briefed by the removing party in the removal petition itself, and because this Court has

         the authority to determine its own jurisdiction without necessity of formal motion practice

         under Fed. R. Civ. P. 12(h)(3) and 28 U.S.C. § 1447(c).



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    47. Therefore, under American Dredging Co., Supra, Defendant Watchung UE LLC c/o Urban

         Edge Properties’ inclusion in this lawsuit does not destroy diversity of citizenship.

    48. To any extent it is necessary, Defendant Watchung UE LLC c/o Urban Edge Properties has

         given BJ’s consent to remove this matter to the Federal Court. See Ex. “D”.

    49. Accordingly, Plaintiff is diverse from the properly joined Defendant, and the requirements

         for removal based on diversity of citizenship are satisfied.

         B. THE AMOUNT IN CONTROVERSY EXCEEDS $75,000 EXCLUSIVE

         OF INTEREST AND COSTS

    50. The State Court wherein this action was originally filed is located in Middlesex County,

         New Jersey, which is embraced within this jurisdictional district.

    51. Removal from the Superior Court of New Jersey Law Division, Middlesex County is

         proper under 28 U.S.C. §§1441(a) and (b), which authorizes the removal of any civil action

         of which the District Courts of the United States has original jurisdiction and if “none of

         the parties in interest properly joined and served as a defendant is a citizen of the state in

         which such action is brought.”

    52. This Court has original jurisdiction over the subject matter under 28 U.S.C. §1332 as the

         parties in interest properly joined and served are citizens of different states, and the matter

         in controversy exceeds $75,000.00 as set forth below.

    53. Plaintiff claims that as a result of the recklessness and negligence of the Defendants, she

         suffered severe and permanent injuries, great pain and suffering to her body and mind, has

         incurred great sums of money for medical care, and has sustained lost earnings and lost

         earning capacity. See Ex. “A”, First Count, ¶5.

    54. Plaintiff Lenford Thomas, spouse of Plaintiff Elma Thomas, claims that as the proximate

         result of the injuries his spouse sustained in the accident, he sustained a loss of her services,

         consortium and companionship. See Exhibit “A,” Sixth Count, ¶3.

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    55. Plaintiffs demand judgment against Defendant for damages, interest, costs of suit as well

         as compensatory damages, exemplary damages, attorney’s fees and punitive damages,

         as follows:




         See Exhibit “A,” at Wherefore Clauses.

    56. On August 2, 2019, in order to clarify the amount of damages at issue, BJ’s served Plaintiffs

         with a stipulation to limit damages to $75,000.00, and advised that if it was not signed and

         returned, BJ’s would remove this matter to the Federal Court thereafter. See August 2,

         2019 correspondence from Defendant’s counsel to Plaintiffs’ counsel, attached as Exhibit

         “E.”

    57. Subsequent to that, on August 7, 2019, counsel for Plaintiff advised counsel for BJ’s that

         Plaintiff would not agree to sign the Stipulation to Limit damages to $75,000. See Exhibit

         “F”.

    58. As such, based on Plaintiff Elma Thomas’ severe personal injury claims, lost earning and

         earning capacity claims, punitive and exemplary damages claims, as well as the loss of

         consortium claim, coupled with Plaintiff’s refusal to stipulate to limit damages to $75,000,

         it is Defendant’s position that Plaintiffs are seeking an amount in excess of $75,000 and

         this Court does not have to guess as to whether this Court’s jurisdictional threshold has

         been met.

    59. A defendant’s notice of removal need only include a “plausible allegation” the amount in

         controversy exceeds the jurisdictional threshold. Dart Cherokee Basin Operating Co., LLC

         v. Owens, 135 S. Ct. 547, 554 (2014) (citing 28 U.S.C. § 1446(a)).
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    60. This Notice of Removal is timely as it is being filed within thirty days of service of

         Plaintiffs’ Complaint on Defendant BJ’s.

    61. The United States District Court for the District of New Jersey is in the federal judicial

         district encompassing Middlesex County, New Jersey, where the State Action was filed. For

         purposes of removal, venue lies in this Court pursuant to 28 U.S.C. § 1441(a).

    62. Prompt written notice of this Notice of Removal is being sent to Plaintiffs and Defendant

         Watchung UE LLC c/o Urban Edge Properties through their counsel, and a copy of this

         Notice of Removal will be filed with the Superior Court of New Jersey, Middlesex County,

         as required by 28 U.S.C. § 1446(d).

    63. Because the requirements for federal diversity jurisdiction pursuant to 28 U.S.C. § 1332 are

         satisfied, i.e., complete diversity of citizenship between Plaintiffs and the properly joined

         Defendant and the amount in controversy in excess of $75,000, this action is properly

         removable.

    64. Pursuant to 28 U.S.C. § 1446(a), Defendant has attached copies of all process, pleadings

         and orders served upon them, including: A true and correct copy of Plaintiffs’ Summons

         and Complaint. See Exhibit “A.”

WHEREFORE, Defendant BJ’s Wholesale Club, Inc. respectfully requests that the State Action

be removed from the Superior Court of New Jersey, Law Division, Middlesex County to the United

States District Court for the District of New Jersey.

Dated: August 21, 2019                           s/     John M. McConnell
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                                                        Club, Inc.

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